                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION



 JOHNNY M. HUNT,

                        Plaintiff,                       Case No. 3:23-cv-00243
         v.

 SOUTHERN BAPTIST CONVENTION;                            Judge Campbell
 GUIDEPOST SOLUTIONS LLC; and                            Magistrate Judge Frensley
 EXECUTIVE COMMITTEE OF THE
 SOUTHERN BAPTIST CONVENTION                             JURY DEMAND


                        Defendants.



             NON-PARTY JANE DOE’S MEMORANDUM OF LAW
    IN SUPPORT OF JANE DOE’S MOTION TO PROCEED PSEUDONYMOUSLY
             AND TO REQUIRE REDACTION OF HER NAME AND
             IDENTIFYING INFORMATION IN PUBLIC FILINGS

       Pursuant to Federal Rules of Civil Procedure 26(c) and 45(d)(3), non-party Jane Doe (“Jane

Doe”) respectfully submits this Memorandum of Law in support of Jane Doe’s Motion to Proceed

Pseudonymously and to Require Redaction of Her Name and Identifying Information in Public

Filings. Jane Doe has engaged in best efforts to meet and confer with Defendants and Plaintiff in

order to come to an agreement and avoid this motion. Defendants do not oppose this motion, but

Plaintiff has not responded to three requests for his position over the course of five days.

                                         BACKGROUND

       Jane Doe is the survivor of sexual assault committed by Plaintiff Johnny Hunt as described

in the Guidepost report mentioned in Plaintiff’s Complaint. This assault occurred in 2010 and it

has taken Jane Doe and her spouse many years to untangle and address the trauma associated with

that event, its cover up, and the manipulation employed by Plaintiff throughout that process and

its aftermath.
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       It took tremendous courage and a thoughtful weighing of the potential impact on her and

her family, in light of valuing the truth, protection of victims, and accountability of Plaintiff and

Defendant Southern Baptist Convention, for her to come forward to Defendant Guidepost in the

course of their investigation into allegations of abuse, mishandling of abuse allegations,

mistreatment of sexual abuse victims, and patterns of intimidation of sexual abuse victims or

advocates within the Southern Baptist Convention. Upon doing so, Jane Doe had to revisit

extremely traumatic and confusing experiences and risk upending her life again.

       Notably, Jane Doe is not a defendant in this action. She did not bring this action and wants

nothing to do with it. While she seeks to comply with the orders of the court, she also wishes to

simply live her life and continue to heal. Allowing Jane Doe to proceed pseudonymously will

provide an extra measure of protection and assurance that her identity will be protected as she

continues to heal.

                                           ARGUMENT

1.     Legal Standards

       Judicial proceedings presumptively are open to the public, and that includes the names of

parties who are litigating disputes. Although Jane Doe is not a party in this case, this requirement

typically serves the public interest in open judicial proceedings. Doe v. Public Citizen, 749 F.3d

246, 273 (4th Cir. 2014). The Sixth Circuit has identified a non-exhaustive list of factors courts

may consider in determining whether “special circumstances” exist to justify an exception to the

rule for a party to be named, including:

       (1) whether the plaintiffs seeking anonymity are suing to challenge governmental
       activity; (2) whether prosecution of the suit will compel the plaintiffs to disclose
       information of the utmost intimacy; (3) whether the litigation compels plaintiffs to
       disclose an intention to violate the law, thereby risking criminal prosecution; and
       (4) whether the plaintiffs are children.

Doe v. Porter, 370 F.3d 558, 560 (6th Cir. 2004)). The court may exercise its discretion to

consider other factors that may be relevant in a particular case, keeping in mind that the applicable
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standard is whether “a plaintiff’s privacy interests substantially outweigh the presumption of open

judicial proceedings.” Id. (emphasis added). For named parties, “[e]xamples of areas where

courts have allowed pseudonyms include cases involving abortion, birth control, transexuality,

mental illness, welfare rights of illegitimate children, AIDS, and homosexuality.” Doe v. Megless,

654 F.3d 404, 408 (3d Cir. 2011) (quoting Doe v. Borough of Morrisville, 130 F.R.D. 612, 614

(E.D. Pa. 1990)).

        Other factors courts consider for a named plaintiff to use a pseudonym include: (1)

whether the defendants will be prejudiced if the plaintiff proceeds under a pseudonym; (2)

whether the plaintiff will suffer harm if he is identified; and (3) the public interest in guaranteeing

open access to judicial proceedings without denying litigants access to the justice system. See

EW v. New York Blood Center, 213 F.R.D. 108, 111 (E.D.N.Y. 2003) (citations omitted). No one

factor is dispositive. See Doe v. University of Pittsburgh, 2018 WL 1312219 at *2 (W.D. Mich.,

Mar. 14, 2018).

        Even when the party seeking to proceed under a pseudonym is a named party, courts

throughout the country have routinely found that the privacy interests of alleged sexual assault

victims outweigh the presumption in favor of openness. See Doe v. Blue Cross & Blue Shield

United of Wisconsin, 112 F.3d 869, 872 (7th Cir. 1997) (“[F]ictitious names are allowed when

necessary to protect the privacy of . . . rape victims, and other particularly vulnerable parties or

witnesses.”); K.S. v. Detroit Pub. Sch., No. 14-12214, 2015 WL 13358204, at *3 (E.D. Mich.

July 22, 2015) (allowing alleged sexual assault victim to proceed anonymously); NMIC Ins. Co.

v. Smith, No. 2:18-cv-533, 2018 WL 7859755, at *2 (S.D. Ohio Oct. 24, 2018) (Vascura, M.J.)

(citing Doe v. Blue Cross & Blue Shield United of Wisconsin, 112 F.3d 869, 872 (7th Cir. 1997)

(“fictitious names are allowed when necessary to protect the privacy of . . . rape victims. . . .”);

Doe No. 2 v. Kolko, 242 F.R.D. 193, 195 (E.D.N.Y. 2006) (“the public generally has a strong

interest in protecting the identities of sexual assault victims so that other victims will not be
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deterred from reporting such crimes”); Doe v. Mitchell, Case No. 2:20-cv-00459, 11 (S.D. Ohio

Nov. 24, 2020) (allowing sexual assault victim to bring §1983 claims under pseudonym); K.S. v.

Detroit Pub. Sch., No. 14-12214, 2015 WL 13358204, at *3 (E.D. Mich. July 22, 2015) (relying

on Kolko, 242 F.R.D. at 195, and Blue Cross, 112 F.3d at 872, when finding that the alleged

sexual assault victim - a student who was preyed upon by a teacher - could proceed

anonymously)). The Court in NMIC Ins. Co. found that “the public interest weighs in favor of

allowing [the Jane Doe defendant] to proceed anonymously so that other victims will not be

deterred from coming forward.” NMIC Ins. Co., 2018 WL 7859755, at *2.

2.      Jane Doe’s Privacy Interests Substantially Outweigh the Presumption of Open

        Judicial Proceedings, Supporting Her Use of a Pseudonym and the Redaction of

        Identifying Information

        A sexual assault is an event of “utmost intimacy” as described in Doe v. Porter. Other

cases have permitted survivors of sexual assault to use pseudonyms in proceedings where they

are even the plaintiff, a fact that does not even exist here.

        In this case, the litigants are aware of Jane Doe’s identity and therefore her use of a

pseudonym does not prejudice their case. However, on a meet and confer call, Plaintiff’s counsel

stated that Jane Doe’s testimony would be “very public, very public.” See Melissa J. Hogan

Declaration, ¶ 20. This suggestion that now or later, or even at trial, assuming without question

that the court would require revelation of Jane Doe’s identity and the details of her sexual assault

to be publicly on display, which is not necessary for this case to proceed, is improper and

suggestive that there is an intent and motive to reveal Jane Doe’s identity.

        Despite Jane Doe’s identity being otherwise redacted in every public filing by every party,

Plaintiff’s counsel first refused to correct a redaction error brought to his attention that contained

a portion of Jane Doe’s name in January 2024. See Melissa J. Hogan Declaration, ¶ 10, 11. Then,

in the days after Plaintiff’s counsel was aware we were filing a motion to proceed

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pseudonymously and to (for extra clarity) require redaction of Jane Doe’s name and identifying

information from public filings, and refused to state a position, Plaintiff filed a motion that

included Jane Doe’s name unredacted in six lines of a deposition transcript, despite those portions

being subject to a Highly Confidential – Attorneys’ Eyes Only designation by Defendant

Guidepost. See Melissa J. Hogan Declaration, ¶ 25-28. These actions, taking together with

Plaintiff’s counsel’s statement that Jane Doe’s testimony would be “very public, very public”

suggests an intent to publicly identify Jane Doe in order to gain a strategic advantage by

subjecting her to public exposure and violating her privacy. This can therefore only be remedied

by court action.

       Revealing Jane Doe’s identity risks harm to her and her spouse emotionally, financially,

reputationally, relationally, and professionally. Sexual assault involves trauma and stigma.

Allegations against known figures or in cases otherwise with media interest involve an even

greater risk of emotional harm to a victim, where their most intimate pain is put on display for

the commentary, judgment, and entertainment of the public. If the general public were to learn

Jane Doe’s identity, the trauma she continues to endure related to the sexual assault and its

aftermath will only increase as her experience, then connected to her as an individual, would then

be shared widely without her ownership or consent.

       The Guidepost report had a significant impact within the Southern Baptist community.

The media was interested in the report and has also written about this case. However, Jane Doe’s

identity has never been revealed by her publicly. Revealing her identity on the public docket

could also spur retaliatory conduct from those with whom Jane Doe usually interacts.

       Allegations against prominent leaders within a faith community carry even more risk of

rupturing relationships and burdening career prospects of her spouse, who at the time of the

sexual assault was also a pastor within the denomination, which then could affect Jane Doe

financially as well.


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       These risks of harm outweigh the needs of the public to know her identity, as a non-party

in this case. Despite her desire to remain anonymous and not enter this case, she complied with

a subpoena duces tecum from Plaintiff in December 2023. She is only entering this case now

when the risk of her identity being revealed and the risk of harm to her by participating in a

deposition has become unavoidable. She should not be penalized for being unwillingly brought

into a case about a traumatic and harmful event.

Dated: April 9, 2024


                                            Respectfully submitted,

                                            s/ Melissa J. Hogan
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                                            Counsel for Jane Doe




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                              CERTIFICATE OF SERVICE

       The undersigned certifies that on April 9, 2024, I electronically filed a true and correct
copy of the foregoing with the Clerk of Court for the U.S. District Court Middle District of
Tennessee through the Court’s Electronic Case Filing System, which will automatically serve all
counsel of record listed below:

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